        Case 1:21-cr-00035-EGS Document 152 Filed 12/02/21 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                       :
                                                :
                      v.                        :
                                                :
 JEFFREY SABOL,                                 :    CRIMINAL NO. 21-CR-35 (EGS)
                                                :
 PETER FRANCIS STAGER,                          :    UNDER SEAL
                                                :
 MICHAEL JOHN LOPATIC, SR.,                     :
                                                :
 CLAYRON RAY MULLINS,                           :
                                                :
 JACK WADE WHITTON,                             :
                                                :
 LOGAN JAMES BARNHART,                          :
                                                :
 RONALD COLTON MCABEE,                          :
                                                :
 MASON JOEL COURSON, and                        :
                                                :
 JUSTIN JERSEY,                                 :
                                                :
                           Defendants.          :

     MOTION TO DOCKET REDACTED THIRD SUPERSEDING INDICTMENT

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to publicly docket the attached redacted version of

the Fourth Superseding Indictment.

       In support thereof, the government states as follows:

       1.     On November 17, 2021, the Court granted the government’s motion to seal the

Third Superseding Indictment; the Arrest Warrants for Mason Joel Courson and Justin Jersey (the




                                                1
            Case 1:21-cr-00035-EGS Document 152 Filed 12/02/21 Page 2 of 3




“newly indicted defendants”); the government’s motion to seal; the order granting the

government’s motion; and any related materials. The present motion is a related material.

       2.       On the morning of December 2, 2021, Justin Jersey, the ninth defendant in the

indictment and one of the newly indicted defendants, was arrested. Mason Joel Courson, the

eighth defendant in the indictment and the other newly indicted defendant, has not yet been

arrested.

       3.       To facilitate the public’s presumptive right of access to court proceedings, see

Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999), and the dissemination of the

Third Superseding Indictment to the eight defendants who have been arrested or presented, the

government respectfully moves the Court to direct the Clerk to publicly docket the attached

redacted version of the Third Superseding Indictment. This version redacts references to Mason

Joel Courson, who has not yet been arrested, and the charges against him.




                                                2
         Case 1:21-cr-00035-EGS Document 152 Filed 12/02/21 Page 3 of 3




       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court immediately publicly docket the attached redated version of

the Third Superseding Indictment and the executed arrest warrant for Justin Jersey, but not the

unexecuted warrant for Mason Joel Courson.

                                     Respectfully submitted,

                                     MATTHEW M GRAVES
                                     UNITED STATES ATTORNEY
                             By:


                                     Benet J. Kearney
                                     Assistant United States Attorney, Detailee
                                     N.Y. Bar No. 4774048
                                     1 Saint Andrew’s Plaza
                                     New York, New York 10007
                                     Office: (212) 637-2260
                                     Benet.Kearney@usdoj.gov




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